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                    United States Court of Appeals
                                   FIFTH CIRCUIT
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  LYLE W. CAYCE        ġ                                          TEL. 504-310-7700
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                       ġ                                               Suite 115
                                                              NEW ORLEANS, LA 70130

                               August 26, 2020
 MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
        No. 20-30526       4 Aces Enterprises, L.L.C., et al v. John
                           Edwards, et al
                           USDC No. 2:20-CV-2150
                           USDC No. 6:20-CV-965

 The court has granted the motion to consolidate.


                                    Sincerely,
                                    LYLE W. CAYCE, Clerk


                                    By: _________________________
                                    Majella A. Sutton, Deputy Clerk
                                    504-310-7680
 Mr.   Matthew F. Block
 Mr.   Christopher T. Chocheles
 Mr.   Jimmy Roy Faircloth Jr.
 Mr.   Joshua Simon Force
 Mr.   James M. Garner
 Ms.   Carol L. Michel
 Mr.   Tony R. Moore
 Mr.   Richard Frederick Norem III
 Ms.   Mary Katherine Price
 Mr.   Jack M. Weiss
